        Case 4:20-cv-05640-YGR Document 623 Filed 05/07/21 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                           BENCH TRIAL CIVIL MINUTES

 Date: 5/7/2021                  Time: 8:00AM              Judge: YVONNE
                                                           GONZALEZ ROGERS
 Case No.: 20-cv-5640-YGR        Case Name: Epic Games v. Apple Inc.

TIME: 8:00AM -10:15AM; 10:35AM-12:34PM; 1:15PM-3:17PM

Attorney for Plaintiff: Lead counsel: Katherine Forrest and Gary Bornstein

Attorney for Defendant: Lead counsel Richard Doren and Karen Dunn and Veronica Moye

 Deputy Clerk: Frances Stone                         Court Reporter: DIANE SKILLMAN
                                                     AND PAM HEBEL

BENCH TRIAL BEGAN: 5/3/2021
                                         PROCEEDINGS
Case called. Discussion with counsel.
Court lists on the record exhibits admitted in evidence up to today. [SEE PAGES 2 through 4 ]

Defendant Apple attorney Veronica Moye resumes Cross of witness Trystan Kosmynka. Plaintiff
Epic attorney Lauren Moskowitz Redirect of Kosmynka. Re-Cross. Redirect. Plaintiff Epic
Attorney Justin Clark calls witness Steve Allison for Direct. RECESS. Plaintff Epic attorney
Clark resumes Direct of witness Allison. Defendant Apple Attorney Karen Dunn Cross of
witness Allison. Redirect. Re-Cross. Redirect. Plaintiff Epic Attorney Moskowitz calls witness
Matthew Weissinger for Direct.
Witness excused for the day. Discussion with counsel. RECESS for the day.

Further Bench Trial Monday , May 10, 2021 at 8:00 AM.

EXHIBITS ADMITTED IN EVIDENCE:

Plaintiff:
PX 335 PX 2235 PX 326 PX 442 PX 446 PX 2084 PX 2029 PX 372 PX 371 PX 364 PX
365 PX 131 PX 2371 PX 315 PX 2783 PX 2469

Defendant:
DX 3399 DX 5536 DX 4638 DX 3993 DX 3681 DX 3955[portion subject to sealing]


**SEE PAGES 2 AND 3 FOR LIST OF EXHIBITS ADMITTED IN EVIDENCE ON
THE RECORD UP TO 5/7/2021 DATE

CONTINUED ON PAGE TWO>>>>>>>
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                            BENCH TRIAL CIVIL MINUTES

 Date: 5/7/2021                Time: 8:00AM               Judge: YVONNE
                                                          GONZALEZ ROGERS
 Case No.: 20-cv-5640-YGR      Case Name: Epic Games Inc. v. Apple Inc.

EXHIBITS ADMITTED IN EVIDENCE AS STATED ON THE RECORD BY THE
COURT:

EXHIBITS ADMITTED ON 5/5/2021:
3815
2476
5523
2311
5578
5532
2618
2619
2621
2622
4119
2622
4119
4022
4561
5363

[Exhibit 4036 was admitted on 5/4/21 and is listed on page 3 of the Minutes Dkt. No. 600 ]

EXHIBITS ADMITTED ON 5/6/2021:
2451
2452
4496
3472
06
52
60
61
72
112
201
202
827
854
57   CONTINUED ON PAGE THREE>>>>>>>
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                                  PAGE THREE
                           BENCH TRIAL CIVIL MINUTES

Date: 5/7/2021               Time: 8:00AM               Judge: YVONNE
                                                        GONZALEZ ROGERS
Case No.: 20-cv-5640-YGR     Case Name: Epic Games Inc. v. Apple Inc.



EXHIBITS ADMITTED ON 5/6/2021:
146
197
198
422
2185
2281
4178
59
57
2060
4496
3472
2284
2062
66
63
2197
2190
64
174
2717
2016
2173
3422
3642
3636
2951
2952
2953
202
314
56
2052
6
305
257
CONTINUED ON PAGE FOUR >>>>>
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                              PAGE FOUR
                       BENCH TRIAL CIVIL MINUTES

Date: 5/7/2021             Time: 8:00AM               Judge: YVONNE
                                                      GONZALEZ ROGERS
Case No.: 20-cv-5640-YGR   Case Name: Epic Games Inc. v. Apple Inc.



300
858
4374
5467
64
PENDING: 63 67 744
